Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 1 of 16 Page ID #:354




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  7
                              UNITED STATES DISTRICT COURT
  8
                             CENTRAL DISTRICT OF CALIFORNIA
  9

 10    VERNON UNSWORTH,
                                                     Case No. 2:18-cv-08048
 11
                     Plaintiff,
 12                                                   [JOINTLY PROPOSED]
                                                      PROTECTIVE ORDER
 13            vs.
 14
       ELON MUSK,
 15

 16                  Defendant.

 17

 18
         1.      A. PURPOSES AND LIMITATIONS
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              As the parties have represented that discovery in this action is likely to
 20
      involve production of confidential, proprietary, or private information for which
 21
      special protection from public disclosure and from use for any purpose other than
 22
      prosecuting this litigation may be warranted, this Court enters the following
 23
      Protective Order. This Order does not confer blanket protections on all disclosures
 24
      or responses to discovery. The protection it affords from public disclosure and use
 25
      extends only to the limited information or items that are entitled to confidential
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      treatment under the applicable legal principles. Further, as set forth in Section 12.3,
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Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 2 of 16 Page ID #:355




  1   below, this Protective Order does not entitle the parties to file confidential
  2   information under seal. Rather, when the parties seek permission from the court to
  3   file material under seal, the parties must comply with Civil Local Rule 79-5 and
  4   with any pertinent orders of the assigned District Judge and Magistrate Judge.
  5         B. GOOD CAUSE STATEMENT
  6         In light of the nature of the claims and allegations in this case and the parties’
  7   representations that discovery in this case will involve the production of confidential
  8   records, and in order to expedite the flow of information, to facilitate the prompt
  9   resolution of disputes over confidentiality of discovery materials, to adequately
 10   protect information the parties are entitled to keep confidential, to ensure that the
 11   parties are permitted reasonable necessary uses of such material in connection with
 12   this action, to address their handling of such material at the end of the litigation, and
 13   to serve the ends of justice, a protective order for such information is justified in this
 14   matter. The parties shall not designate any information/documents as confidential
 15   without a good faith belief that such information/documents have been maintained
 16   in a confidential, non-public manner, and that there is good cause or a compelling
 17   reason why it should not be part of the public record of this case.
 18         2.     DEFINITIONS
 19         2.1    Action: The instant action: Unsworth v. Musk.
 20         2.2    Challenging Party: a Party or Non-Party that challenges the
 21   designation of information or items under this Order.
 22         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
 23   how it is generated, stored or maintained) or tangible things that qualify for
 24   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
 25   the Good Cause Statement.
 26         2.4    “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES ONLY”
 27   Information or Items: extremely sensitive “CONFIDENTIAL” Information or
 28   Items, the disclosure of which to another Party or Non-Party would create a
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Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 3 of 16 Page ID #:356




  1   substantial risk of serious harm that could not be avoided by less restrictive means.
  2          2.5    Counsel: Outside Counsel of Record and House Counsel (as well as
  3   their support staff).
  4          2.6    Designating Party: a Party or Non-Party that designates information or
  5   items that it produces in disclosures or in responses to discovery as
  6   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
  7   ONLY.”
  8          2.7    Disclosure or Discovery Material: all items or information, regardless
  9   of the medium or manner in which it is generated, stored, or maintained (including,
 10   among other things, testimony, transcripts, and tangible things), that are produced or
 11   generated in disclosures or responses to discovery in this matter.
 12          2.8    Expert: a person with specialized knowledge or experience in a matter
 13   pertinent to the litigation who has been retained by a Party or its counsel to serve as
 14   an expert witness or as a consultant in this Action.
 15          2.9    House Counsel: attorneys who are employees of a party to this Action.
 16   House Counsel does not include Outside Counsel of Record or any other outside
 17   counsel.
 18          2.10 Non-Party: any natural person, partnership, corporation, association, or
 19   other legal entity not named as a Party to this action.
 20          2.11 Outside Counsel of Record: attorneys who are not employees of a
 21   party to this Action but are retained to represent or advise a party to this Action and
 22   have appeared in this Action on behalf of that party or are affiliated with a law firm
 23   which has appeared on behalf of that party, and includes support staff.
 24          2.12 Party: any party to this Action, including all of its officers, directors,
 25   employees, consultants, retained experts, and Outside Counsel of Record (and their
 26   support staffs).
 27          2.13 Producing Party: a Party or Non-Party that produces Disclosure or
 28   Discovery Material in this Action.
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Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 4 of 16 Page ID #:357




  1            2.14 Professional Vendors: persons or entities that provide litigation
  2   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
  3   demonstrations, and organizing, storing, or retrieving data in any form or medium)
  4   and their employees and subcontractors.
  5            2.15 Protected Material: any Disclosure or Discovery Material that is
  6   designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL --
  7   ATTORNEYS’ EYES ONLY.”
  8            2.16 Receiving Party: a Party that receives Disclosure or Discovery
  9   Material from a Producing Party.
 10            3.    SCOPE
 11            The protections conferred by this Order cover not only Protected Material (as
 12   defined above), but also (1) any information copied or extracted from Protected
 13   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
 14   and (3) any deposition testimony, conversations, or presentations by Parties or their
 15   Counsel that might reveal Protected Material, other than during a court hearing or at
 16   trial.
 17            Any use of Protected Material during a court hearing or at trial shall be
 18   governed by the orders of the presiding judge. This Order does not govern the use
 19   of Protected Material during a court hearing or at trial.
 20            4.    DURATION
 21            Even after final disposition of this litigation, the confidentiality obligations
 22   imposed by this Order shall remain in effect until a Designating Party agrees
 23   otherwise in writing or a court order otherwise directs. Final disposition shall be
 24   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
 25   or without prejudice; and (2) final judgment herein after the completion and
 26   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 27   including the time limits for filing any motions or applications for extension of time
 28   pursuant to applicable law.
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Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 5 of 16 Page ID #:358




  1         5.       DESIGNATING PROTECTED MATERIAL
  2         5.1      Exercise of Restraint and Care in Designating Material for Protection.
  3   Each Party or Non-Party that designates information or items for protection under
  4   this Order must take care to limit any such designation to specific material that
  5   qualifies under the appropriate standards. The Designating Party must designate for
  6   protection only those parts of material, documents, items, or oral or written
  7   communications that qualify so that other portions of the material, documents,
  8   items, or communications for which protection is not warranted are not swept
  9   unjustifiably within the ambit of this Order.
 10         Mass, indiscriminate, or routinized designations are prohibited. Designations
 11   that are shown to be clearly unjustified or that have been made for an improper
 12   purpose (e.g., to unnecessarily encumber the case development process or to impose
 13   unnecessary expenses and burdens on other parties) may expose the Designating
 14   Party to sanctions.
 15         If it comes to a Designating Party’s attention that information or items that it
 16   designated for protection do not qualify for protection, that Designating Party must
 17   promptly notify all other Parties that it is withdrawing the inapplicable designation.
 18         5.2      Manner and Timing of Designations. Except as otherwise provided in
 19   this Order (see, e.g., second paragraph of Section 5.2(a) below), or as otherwise
 20   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 21   under this Order must be clearly so designated before the material is disclosed or
 22   produced.
 23         Designation in conformity with this Order requires:
 24               (a) for information in documentary form (e.g., paper or electronic
 25   documents, but excluding transcripts of depositions), that the Producing Party affix
 26   at a minimum, the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL --
 27   ATTORNEYS’ EYES ONLY” to each page that contains protected material. If
 28   only a portion or portions of the material on a page qualifies for protection, the
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Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 6 of 16 Page ID #:359




  1   Producing Party also must clearly identify the protected portion(s) (e.g., by making
  2   appropriate markings in the margins).
  3         A Party or Non-Party that makes original documents available for inspection
  4   need not designate them for protection until after the inspecting Party has indicated
  5   which documents it would like copied and produced. During the inspection and
  6   before the designation, all of the material made available for inspection shall be
  7   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
  8   documents it wants copied and produced, the Producing Party must determine which
  9   documents, or portions thereof, qualify for protection under this Order. Then,
 10   before producing the specified documents, the Producing Party must affix the
 11   “CONFIDENTIAL”, or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
 12   ONLY” legend to each page that contains Protected Material. If only a portion or
 13   portions of the material on a page qualifies for protection, the Producing Party also
 14   must clearly identify the protected portion(s) (e.g., by making appropriate markings
 15   in the margins).
 16               (b) for testimony given in depositions that the Designating Party identifies
 17   on the record, before the close of the deposition as protected testimony.
 18               (c) for information produced in some form other than documentary and
 19   for any other tangible items, that the Producing Party affix in a prominent place on
 20   the exterior of the container or containers in which the information is stored the
 21   legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’
 22   EYES ONLY.” If only a portion or portions of the information warrants protection,
 23   the Producing Party, to the extent practicable, shall identify the protected portion(s).
 24         5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent
 25   failure to designate qualified information or items does not, standing alone, waive
 26   the Designating Party’s right to secure protection under this Order for such material.
 27   Upon timely correction of a designation, the Receiving Party must make reasonable
 28   ///
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Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 7 of 16 Page ID #:360




  1   efforts to assure that the material is treated in accordance with the provisions of this
  2   Order.
  3         6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
  4         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
  5   designation of confidentiality at any time that is consistent with the Court’s
  6   Scheduling Order.
  7         6.2    Meet and Confer. The Challenging Party shall initiate the dispute
  8   resolution process under Local Rule 37-1 et seq.
  9         6.3    The burden of persuasion in any such challenge proceeding shall be on
 10   the Designating Party. Frivolous challenges, and those made for an improper
 11   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
 12   parties) may expose the Challenging Party to sanctions. Unless the Designating
 13   Party has waived or withdrawn the confidentiality designation, all parties shall
 14   continue to afford the material in question the level of protection to which it is
 15   entitled under the Producing Party’s designation until the Court rules on the
 16   challenge.
 17         7.     ACCESS TO AND USE OF PROTECTED MATERIAL
 18         7.1    Basic Principles. A Receiving Party may use Protected Material that is
 19   disclosed or produced by another Party or by a Non-Party in connection with this
 20   Action only for prosecuting, defending, or attempting to settle this Action. Such
 21   Protected Material may be disclosed only to the categories of persons and under the
 22   conditions described in this Order. When the Action has been terminated, a
 23   Receiving Party must comply with the provisions of Section 13 below.
 24         Protected Material must be stored and maintained by a Receiving Party at a
 25   location and in a secure manner that ensures that access is limited to the persons
 26   authorized under this Order.
 27         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
 28   otherwise ordered by the court or permitted in writing by the Designating Party, a
                                                  7
Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 8 of 16 Page ID #:361




  1   Receiving Party may disclose any information or item designated
  2   “CONFIDENTIAL” only to:
  3            (a) the Receiving Party’s Outside Counsel of Record in this Action, as
  4   well as employees of said Outside Counsel of Record to whom it is reasonably
  5   necessary to disclose the information for this Action;
  6            (b) the officers, directors, and employees (including House Counsel) of
  7   the Receiving Party to whom disclosure is reasonably necessary for this Action;
  8            (c) Experts (as defined in this Order) of the Receiving Party to whom
  9   disclosure is reasonably necessary for this Action and who have signed the
 10   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 11            (d) the court and its personnel;
 12            (e) private court reporters and their staff to whom disclosure is reasonably
 13   necessary for this Action and who have signed the “Acknowledgment and
 14   Agreement to Be Bound” (Exhibit A);
 15            (f) professional jury or trial consultants, mock jurors, and Professional
 16   Vendors to whom disclosure is reasonably necessary for this Action and who have
 17   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 18            (g) the author or recipient of a document containing the information or a
 19   custodian or other person who otherwise possessed or knew the information;
 20            (h) during their depositions, witnesses, and attorneys for witnesses, in the
 21   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
 22   requests that the witness sign the “Acknowledgment and Agreement to Be Bound”
 23   (Exhibit A); and (2) they will not be permitted to keep any confidential information
 24   unless they sign the “Acknowledgment and Agreement to Be Bound” (Exhibit A),
 25   unless otherwise agreed by the Designating Party or ordered by the court. Pages of
 26   transcribed deposition testimony or exhibits to depositions that reveal Protected
 27   Material may be separately bound by the court reporter and may not be disclosed to
 28   anyone except as permitted under this Protective Order; and
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Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 9 of 16 Page ID #:362




  1               (i) any mediator or settlement officer, and their supporting personnel,
  2   mutually agreed upon by any of the parties engaged in settlement discussions.
  3         7.3      Disclosure of “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
  4   ONLY” Information or Items. Unless otherwise ordered by the court or permitted in
  5   writing by the Designating Party, a Receiving Party may disclose any information or
  6   item designated “CONFIDENTIAL” only to:
  7         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
  8   as employees of said Outside Counsel of Record to whom it is reasonably necessary
  9   to disclose the information for this Action;
 10         (b) Experts (as defined in this Order) of the Receiving Party to whom
 11   disclosure is reasonably necessary for this Action and who have signed the
 12   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 13         (c) the court and its personnel;
 14         (d) private court reporters and their staff to whom disclosure is reasonably
 15   necessary for this Action and who have signed the “Acknowledgment and
 16   Agreement to Be Bound” (Exhibit A);
 17         (e) professional jury or trial consultants, mock jurors, and Professional
 18   Vendors to whom disclosure is reasonably necessary for this Action and who have
 19   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 20         (f) the author or recipient of a document containing the information or a
 21   custodian or other person who otherwise possessed or knew the information; and
 22         (g) any mediator or settlement officer, and their supporting personnel,
 23   mutually agreed upon by any of the parties engaged in settlement discussions.
 24         8.       PROTECTED MATERIAL SUBPOENAED OR ORDERED
 25                  PRODUCED IN OTHER LITIGATION
 26         If a Party is served with a subpoena or a court order issued in other litigation
 27   that compels disclosure of any information or items designated in this Action as
 28   ///
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Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 10 of 16 Page ID #:363




  1   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
  2   ONLY,” that Party must:
  3             (a) promptly notify in writing the Designating Party. Such notification
  4   shall include a copy of the subpoena or court order unless prohibited by law;
  5             (b) promptly notify in writing the party who caused the subpoena or order
  6   to issue in the other litigation that some or all of the material covered by the
  7   subpoena or order is subject to this Protective Order. Such notification shall include
  8   a copy of this Protective Order; and
  9             (c) cooperate with respect to all reasonable procedures sought to be
 10   pursued by the Designating Party whose Protected Material may be affected.
 11         If the Designating Party timely seeks a protective order, the Party served with
 12   the subpoena or court order shall not produce any information designated in this
 13   action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’
 14   EYES ONLY” before a determination by the court from which the subpoena or
 15   order issued, unless the Party has obtained the Designating Party’s permission, or
 16   unless otherwise required by the law or court order. The Designating Party shall
 17   bear the burden and expense of seeking protection in that court of its confidential
 18   material and nothing in these provisions should be construed as authorizing or
 19   encouraging a Receiving Party in this Action to disobey a lawful directive from
 20   another court.
 21         9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 22             PRODUCED IN THIS LITIGATION
 23             (a) The terms of this Order are applicable to information produced by a
 24   Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
 25   CONFIDENTIAL -- ATTORNEYS’ EYES ONLY.” Such information produced by
 26   Non-Parties in connection with this litigation is protected by the remedies and relief
 27   provided by this Order. Nothing in these provisions should be construed as
 28   prohibiting a Non-Party from seeking additional protections.
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Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 11 of 16 Page ID #:364




  1             (b) In the event that a Party is required, by a valid discovery request, to
  2   produce a Non-Party’s confidential information in its possession, and the Party is
  3   subject to an agreement with the Non-Party not to produce the Non-Party’s
  4   confidential information, then the Party shall:
  5                (1) promptly notify in writing the Requesting Party and the Non-Party
  6   that some or all of the information requested is subject to a confidentiality
  7   agreement with a Non-Party;
  8                (2) promptly provide the Non-Party with a copy of the Protective
  9   Order in this Action, the relevant discovery request(s), and a reasonably specific
 10   description of the information requested; and
 11                (3) make the information requested available for inspection by the
 12   Non-Party, if requested.
 13             (c) If a Non-Party represented by counsel fails to commence the process
 14   called for by Local Rules 45-1 and 37-1, et seq. within 14 days of receiving the
 15   notice and accompanying information or fails contemporaneously to notify the
 16   Receiving Party that it has done so, the Receiving Party may produce the Non-
 17   Party’s confidential information responsive to the discovery request. If an
 18   unrepresented Non-Party fails to seek a protective order from this court within 14
 19   days of receiving the notice and accompanying information, the Receiving Party
 20   may produce the Non-Party’s confidential information responsive to the discovery
 21   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
 22   not produce any information in its possession or control that is subject to the
 23   confidentiality agreement with the Non-Party before a determination by the court
 24   unless otherwise required by the law or court order. Absent a court order to the
 25   contrary, the Non-Party shall bear the burden and expense of seeking protection in
 26   this court of its Protected Material.
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Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 12 of 16 Page ID #:365




  1         10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  2         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  3   Protected Material to any person or in any circumstance not authorized under this
  4   Protective Order, the Receiving Party must immediately (a) notify in writing the
  5   Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
  6   all unauthorized copies of the Protected Material, (c) inform the person or persons to
  7   whom unauthorized disclosures were made of all the terms of this Order, and
  8   (d) request such person or persons to execute the “Acknowledgment and Agreement
  9   to Be Bound” (Exhibit A).
 10         11.    INADVERTENT PRODUCTION OF PRIVILEGED OR
 11                OTHERWISE PROTECTED MATERIAL
 12         When a Producing Party gives notice to Receiving Parties that certain
 13   inadvertently produced material is subject to a claim of privilege or other protection,
 14   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 15   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
 16   procedure may be established in an e-discovery order that provides for production
 17   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
 18   (e), insofar as the parties reach an agreement on the effect of disclosure of a
 19   communication or information covered by the attorney-client privilege or work
 20   product protection, the parties may incorporate their agreement into this Protective
 21   Order.
 22         12.    MISCELLANEOUS
 23         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
 24   person to seek its modification by the Court in the future.
 25         12.2 Right to Assert Other Objections. No Party waives any right it
 26   otherwise would have to object to disclosing or producing any information or item
 27   on any ground not addressed in this Protective Order. Similarly, no Party waives
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                                                 12
Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 13 of 16 Page ID #:366




  1   any right to object on any ground to use in evidence of any of the material covered
  2   by this Protective Order.
  3         12.3 Filing Protected Material. A Party that seeks to file under seal any
  4   Protected Material must comply with Civil Local Rule 79-5 and with any pertinent
  5   orders of the assigned District Judge and Magistrate Judge. Protected Material may
  6   only be filed under seal pursuant to a court order authorizing the sealing of the
  7   specific Protected Material at issue. If a Party’s request to file Protected Material
  8   under seal is denied by the court, then the Receiving Party may file the information
  9   in the public record unless otherwise instructed by the court.
 10         13.    FINAL DISPOSITION
 11         After the final disposition of this Action, as defined in Section 4, within 60
 12   days of a written request by the Designating Party, each Receiving Party must return
 13   all Protected Material to the Producing Party or destroy such material. As used in
 14   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 15   summaries, and any other format reproducing or capturing any of the Protected
 16   Material. Whether the Protected Material is returned or destroyed, the Receiving
 17   Party must submit a written certification to the Producing Party (and, if not the same
 18   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
 19   (by category, where appropriate) all the Protected Material that was returned or
 20   destroyed and (2) affirms that the Receiving Party has not retained any copies,
 21   abstracts, compilations, summaries or any other format reproducing or capturing any
 22   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
 23   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
 24   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
 25   reports, attorney work product, and consultant and expert work product, even if such
 26   materials contain Protected Material. Any such archival copies that contain or
 27   constitute Protected Material remain subject to this Protective Order as set forth in
 28   Section 4.
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Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 14 of 16 Page ID #:367




  1         14.    Any violation of this Order may be punished by any and all appropriate
  2   measures including, without limitation, contempt proceedings and/or monetary
  3   sanctions.
  4

  5
      RESPECTFULLY SUBMITTED,

  6   Dated: June 27, 2019
  7
                                           QUINN EMANUEL URQUHART
                                           & SULLIVAN, LLP
  8                                        Alex Spiro
  9                                        Robert M. Schwartz
                                           Michael T. Lifrak
 10                                        Jeanine M. Zalduendo
 11
                                           By: /s/ Alex Spiro
 12                                        Alex Spiro
 13                                        Attorneys for Defendant Elon Musk

 14

 15
                                           L. LIN WOOD, P.C.
                                           L. Lin Wood
 16                                        Nicole J. Wade
                                           Jonathan D. Grunberg
 17                                        G. Taylor Wilson
 18                                        CHATHAM LAW GROUP
                                           Robert Christopher Chatham
 19

 20
                                           By: /s/ L. Lin Wood
                                           L. Lin Wood
 21                                        Attorneys for Plaintiff Vernon Unsworth
 22

 23

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Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 15 of 16 Page ID #:368




  1         IT IS SO ORDERED.
  2

  3   DATED:
  4

  5                                         _________________________
                                            Honorable Jacqueline Chooljian
  6                                         United States Magistrate Judge
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Case 2:18-cv-08048-SVW-JC Document 56 Filed 06/27/19 Page 16 of 16 Page ID #:369




  1                                        EXHIBIT A
  2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3

  4   I,   _____________________________             [print   or   type   full   name],   of
  5   _________________ [print or type full address], declare under penalty of perjury
  6   that I have read in its entirety and understand the Protective Order that was issued
  7   by the United States District Court for the Central District of California on
  8   _________________________ in the case of Unsworth v. Musk. I agree to comply
  9   with and to be bound by all the terms of this Protective Order and I understand and
 10   acknowledge that failure to so comply could expose me to sanctions and punishment
 11   in the nature of contempt. I solemnly promise that I will not disclose in any manner
 12   any information or item that is subject to this Protective Order to any person or
 13   entity except in strict compliance with the provisions of this Order.
 14         I further agree to submit to the jurisdiction of the United States District Court
 15   for the Central District of California for the purpose of enforcing the terms of this
 16   Protective Order, even if such enforcement proceedings occur after termination of
 17   this action. I hereby appoint __________________________ [print or type full
 18   name] of _______________________________________ [print or type full address
 19   and telephone number] as my California agent for service of process in connection
 20   with this action or any proceedings related to enforcement of this Protective Order.
 21   Date: ______________________________________
 22   City and State where sworn and signed: _________________________________
 23

 24   Printed name: _______________________________
 25

 26   Signature: __________________________________
 27

 28
                                                16
